




Petition for Writ of Mandamus Denied and Memorandum Opinion filed
January 31, 2008








&nbsp;

Petition
for Writ of Mandamus Denied and Memorandum Opinion filed January 31, 2008.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-08-00044-CV

____________

&nbsp;

IN RE SHAWN MASON, Relator

&nbsp;

&nbsp;



&nbsp;

ORIGINAL
PROCEEDING

WRIT OF MANDAMUS

&nbsp;



&nbsp;

M E M O R
A N D U M&nbsp;&nbsp; O P I N I O N

On
December 19, 2007, relator, Shawn Mason, filed a petition for
writ of mandamus in this court.&nbsp; See Tex.
Gov=t Code Ann. ' 22.221 (Vernon 2004); see also Tex. R. App. P. 52.&nbsp; In the petition,
relator asks this court to compel the Honorable Brian Rains, presiding judge of
the 176th District Court of Harris County to grant relator=s request for a nunc pro tunc order
to correct alleged errors in the stacking of sentences.

Relator
has not established his entitlement to the extraordinary relief of a writ of
mandamus.&nbsp; Accordingly, we deny relator=s petition for writ of mandamus.

&nbsp;

PER CURIAM

&nbsp;

Petition Denied and Memorandum
Opinion filed January 31, 2008.

Panel consists of Justices Fowler,
Frost, and Seymore.





